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                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
       v                                         )           CR. NO. 2:07-CR-282-MEF
                                                 )
RONNIE DALE NOBLE                                )

                                             ORDER

       In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing was

convened on November 20, 2007. The indictment in this case establishes probable cause to

believe that the defendant has committed an offense for which the maximum term of

imprisonment of ten years or more is prescribed in 21 U.S.C. § 841(a)(1). At the hearing the

defendant, after conferring with counsel and being advised of his right to a hearing, waived his

right to a detention hearing and chose not to contest detention.

       Therefore, it is ORDERED that the defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a corrections facility separate, to the

extent practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation with

defense counsel. On order of a court of the United States or on request of an attorney for the

Government, the person in charge of the corrections facility shall deliver the defendant to the

United States marshal for the purpose of an appearance in connection with a court proceeding.

       Done this 20th day of November, 2007.


                                           /s/Charles S. Coody
                                      CHARLES S. COODY
                                      CHIEF UNITED STATES MAGISTRATE JUDGE
